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                  IN THE UNITED STATES DISTRICT COURT
                 FOR THE NORTHERN DISTRICT OF GEORGIA
                           ATLANTA DIVISION

REGIS VAUGHN MITCHOM,

       Plaintiff,
                                                Civil Action No.
v.                                              1:21-cv-02727-VMC

RODRDEOUS HOLLOWAY, ICON
ACQUISITIONS, LLC, THE JLM
GROUP LLC D/B/A/ RE/MAX
PREMIER, and TORRENCE FORD

       Defendants.

                                     ORDER

      The Court held a telephone conference on September 1, 2022 to resolve

multiple ongoing discovery disputes amongst the Parties. Having considered the

arguments and positions of the Parties, the Court now provides the following

summary of its decisions.

      I.       Overview

      As an initial matter, the Court encourages the Parties to meet and confer

regarding either answers to interrogatories they believe are unresponsive and/or

documents requested that have yet to be produced. While the Court prefers the

Parties meet and confer via telephone, it acknowledges that such efforts have thus

far been unsuccessful and agreed that the Parties could confer in writing, which

would also help the Court evaluate any future disputes. The Parties are reminded
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that discovery disputes are best resolved when the Parties discuss these matters in

good faith, without intervention from the Court.

      II.      Upcoming Deadlines

      At the discovery conference, the Court imposed the following deadlines on

the Parties:

      1. The Parties have until September 16, 2022 to produce and/or respond to

            any outstanding interrogatories or request for production of documents.

            If a party objects to a specific request, it must state that objection with

            specificity so the Court can determine if the objection is proper. The

            objection will be waived if the Court is unable to discern the basis for

            said objection.

      2. The Parties have until September 16, 2022 to submit any third-party

            discovery requests. Any third-party discovery request not sent out on or

            before September 16, 2022 will not be enforced by the Court.

      3. The Parties have until September 16, 2022 to produce any privilege logs

            for documents being withheld based on privilege. Failure to produce a

            privilege log will result in waiver.

      4. The Parties have until September 16, 2022 to identify any individuals

            they intend to depose. The Parties must send this list to Courtroom

            Deputy, Velma Shanks, no later than 5:00PM on September 16, 2022. The

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      Parties shall then have forty-five (45) days to complete depositions of

      those individuals identified.

   III.   Decisions at the Discovery Conference

   At the Conference, the Court ordered or directed as follows:

1. Elimination of boilerplate objections. The Parties included boilerplate

   objections in their responses to the opposing party’s discovery request.

   Boilerplate objections are not allowed under the Federal Rules of Civil

   Procedure, and thus the Parties are DIRECTED not to include any

   boilerplate objections to a discovery request. For example, if a Party alleges

   that a request is “ambiguous, overbroad, or burdensome,” it must identify

   with specificity how the request is ambiguous. Otherwise, such objection is

   improper. The Parties are further DIRECTED to resubmit any objections

   they have to an opposing party’s discovery request, with specificity.

2. Requirement to produce privilege log. If a Party objects to a discovery request

   on the basis that the information sought is privileged, the objecting party is

   DIRECTED to produce a privilege log. Federal Rule of Civil Procedure

   26(b)(5) mandates that “[w]hen a party withholds information otherwise

   discoverable by claiming the information is privileged . . . [the party must]

   describe the nature of the documents, communications, or tangible things

   not produced or disclosed . . . “ Where a party objects to an opposing party’s

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   request based on privilege, but fails to produce a privilege log, the failure to

   produce said privilege log will result in waiver of any claim of privilege or

   other protection.

3. Documents that are unavailable. If a Party indicates that it does not have a

   document requested by an opposing party in its possession, the Court

   cannot mandate that the document be produced. The general rule is that the

   party withholding the document can not rely on it later. Intentionally

   withholding documents will result in sanctions.

4. Compound interrogatories. District courts in the Eleventh Circuit use a

   “related question” test to determine whether a subpart is part of an

   interrogatory or is more properly considered a discrete, separate

   interrogatory. Under the “related question” test, courts assess whether the

   subparts are logically or factually subsumed within and necessarily related

   to the primary question. Having reviewed Mitchom’s objections to

   Remax/JLM/Ford’s Interrogatories, the Court finds that, except for

   Interrogatory No. 9, no other interrogatory is compound. Thus, Mitchom is

   DIRECTED to submit a proper response to the Remax/JLM/Ford’s

   remaining interrogatories. The Parties agreed to confer about the possibility

   of limiting Interrogatory No. 9, particularly with respect to subpart (c).




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5. Mitchom’s general objections to Remax/JLM/Ford’s Request for Production.

   Objections to a reasonable request to produce documents must provide

   “with specificity the grounds for objection to that request, including

   reasons.” Fed. R. Civ. P. 34(b)(2)(B). General objections to requests for

   production are prohibited. Mitchom is DIRECTED to produce documents

   requested by Remax/JLM/Ford unless a proper objection is made. Counsel

   for Mitchom indicated that she does not intend to seek a protective order as

   stated in her objections. However, to the extent that a protective order is

   sought, such motion must be filed no later than 12:00PM on Friday,

   September 9, 2022.

6. Production of final sales contract to Mitchom. Counsel for JLM/Remax/Ford

   indicated they intended to produce the final purchase and sales agreement

   for the Daniel Avenue property. Defendants shall not be required to

   produce any prior purchase and sales agreements relating to the Property.

7. Production of investor communications. Based on the arguments made at the

   conference, Icon/Holloway shall not have to produce any documents

   related to how it financed the construction of the Daniel Avenue property.

8. Verification of Mitchom’s Interrogatory Responses. Remax/JLM/Ford agreed

   that Mitchom’s current verification is sufficient, and counsel for Mitchom

   agreed that she would not later object to the validity of those responses.

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9. Future discovery disputes. If, by the September 16, 2022 deadline described

   above, either of the Parties are dissatisfied with the production and/or

   responses they received to a discovery request, that Party is DIRECTED to

   submit a written statement, of 500 words or less, to the Court, via email to

   Ms.    Shanks,    providing:   1)   the   request   made,   2)   what   was

   produced/responded to, and 3) identify what they believe is missing and

   the basis for that belief.

10. Mitchom’s Response to Remax/JLM/Ford’s Interrogatories Nos. 3 and 7. The

   Court finds Mitchom’s Response to Interrogatory No. 3 sufficient to the

   extent that it relies on documents needed from either Defendant to

   accurately calculate damages in this case. When those documents are

   received, Mitchom shall supplement his response to this interrogatory as

   appropriate. The Court also finds Mitchom’s Response to Interrogatory No.

   7 sufficient. Mitchom shall supplement his response to this interrogatory as

   appropriate.

11. Icon/Holloway’s Responses to Mitchom’s Request for Production. Icon/Holloway

   agreed to supplement their responses to Mitchom’s Request for Production.

   Counsel will reach out to his clients to ensure no responsive documents are

   missing from said production.




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SO ORDERED this 2nd day of September, 2022.


                                  _______________________________
                                  Victoria Marie Calvert
                                  United States District Judge




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